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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         NorthernDistrict
                                                     __________  District of
                                                                          of Florida
                                                                             __________
                                                                          )
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                   MIKA KAMISSA HARRIS                                    )
                                                                          )         Case Number: 1:18-cr-00004-AW-GRJ-1
                                                                          )         USM Number: 25951-017
                                                                          )
                                                                          )          James E. Felman, Retained
                                                                          )         Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
✔ was found guilty on count(s)
G                                        1 through 90
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended            Count
18 U.S.C. §§ 1343, 1347           Conspiracy to Commit Wire Fraud and Health Care Fraud                        7/31/2016            1

and 1349

18 U.S.C. §§ 1347 and 2           Health Care Fraud and Aiding and Abetting                                    7/31/2016            2 to 49

       The defendant is sentenced as provided in pages 2 through                8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                             1/27/2020
                                                                         Date of Imposition of Judgment


                                                                                                           s/ Allen Winsor
                                                                         Signature of Judge




                                                                                         Allen Winsor, United States District Judge
                                                                         Name and Title of Judge


                                                                                                              1/31/2020
                                                                         Date
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 1A
                                                                                 Judgment—Page   2     of    8
DEFENDANT: MIKA KAMISSA HARRIS
CASE NUMBER: 1:18-cr-00004-AW-GRJ-1

                                            ADDITIONAL COUNTS OF CONVICTION
Title & Section                   Nature of Offense                          Offense Ended           Count
18 U.S.C. §§ 1347,                Money Laundering and Aiding and Abetting    7/31/2016              50-90
1957, and 2
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      3       of   8
 DEFENDANT: MIKA KAMISSA HARRIS
 CASE NUMBER: 1:18-cr-00004-AW-GRJ-1

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 ninety (90) months as to each of Counts 1 through 90, with said terms to run concurrently with each other.




      G The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends the defendant be allowed to participate in RDAP and that she be designated to a facility as
          near to Gainesville, Florida, as deemed eligible.




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 1:18-cr-00004-AW-GRJ Document 381 Filed 01/31/20 Page 4 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     4     of       8
DEFENDANT: MIKA KAMISSA HARRIS
CASE NUMBER: 1:18-cr-00004-AW-GRJ-1
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 three (3) years as to each of Counts 1 through 90, with said terms to run concurrently with each other.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G✔ You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 3B — Supervised Release
                                                                                             Judgment—Page    5    of        8
DEFENDANT: MIKA KAMISSA HARRIS
CASE NUMBER: 1:18-cr-00004-AW-GRJ-1

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 1. The Defendant shall make payments toward any unpaid restitution in an amount of not less than $300.00 per month, to
 begin within 60 days of release from imprisonment.

 2. The Defendant shall provide the probation officer all requested financial information, business or personal and report the
 source and amount of personal and/or business income as well as financial assets.

 3. The Defendant shall not dissipate, transfer or encumber any assets without prior authorization of the probation officer.

 4. The Defendant shall not obtain any new lines of credit or withdraw funds from an existing line of credit without prior
 authorization of the probation officer.

 5. The Defendant's employment shall be approved by the probation officer and any change in employment must be
 preapproved by the probation officer. The Defendant shall submit the name and address of the proposed employer to the
 probation officer at least 10 days prior to any scheduled change.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       6    of         8
 DEFENDANT: MIKA KAMISSA HARRIS
 CASE NUMBER: 1:18-cr-00004-AW-GRJ-1
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 9,000.00                $ 4,471,572.52         $                      $                           $


 G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage
  Blue Cross Blue Shield                                                                          $4,471,572.52




 TOTALS                               $                         0.00            $         4,471,572.52


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                       G fine    ✔ restitution.
                                                                         G
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      7      of      8
 DEFENDANT: MIKA KAMISSA HARRIS
 CASE NUMBER: 1:18-cr-00004-AW-GRJ-1

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     G Lump sum payment of $                                  due immediately, balance due

            G     not later than                                    , or
            G     in accordance with     G C,       GD,      G E, or           G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                               (e.g., months or years), to                            (e.g., 30 or 60 days) after release from imprisonment to a
            commence term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    G Special instructions regarding the payment of criminal monetary penalties:
                The $9,000 special assessment is due immediately. Payments toward restitution shall begin at a minimum
                rate of $300 per month upon release from imprisonment.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G
 ✔ Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate
      1:18-cr-00004-AW-GRJ-2
                                                            4,471,572.52               4,471,572.52
      ERIK MICHAEL SCHABERT

 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:
      See PRELIMINARY ORDER OF FORFEITURE AND FORFEITURE MONEY JUDGMENT, ECF No.
      371, which details property to be forfeited.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 7 — Denial of Federal Benefits

                                                                                                    Judgment — Page     8     of       8
 DEFENDANT: MIKA KAMISSA HARRIS
 CASE NUMBER: 1:18-cr-00004-AW-GRJ-1
                                                   DENIAL OF FEDERAL BENEFITS
                                              (For Offenses Committed On or After November 18, 1988)

 FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

      IT IS ORDERED that the defendant shall be:

G ineligible for all federal benefits for a period of                                       .

 G ineligible for the following federal benefits for a period of                                           .
     (specify benefit(s))




                                                                      OR
 G Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

 FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

 G be ineligible for all federal benefits for a period of                                   .

 G be ineligible for the following federal benefits for a period of                                        .

     (specify benefit(s))




     G      successfully complete a drug testing and treatment program.

     G      perform community service, as specified in the probation and supervised release portion of this judgment.

     G      Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, IT
            IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
            judgment as a requirement for the reinstatement of eligibility for federal benefits.



           Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
 disability, Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
 for eligibility. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:


                                U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
